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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors. 1                          (Jointly Administered)


     NOTICE OF AGENDA FOR STATUS HEARING ON DECEMBER 7, 2023 AT 10:00
     A.M. (PREVAILING EASTERN TIME2) BEFORE THE HONORABLE THOMAS M.
    HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

     This status hearing will be conducted via Zoom before the Honorable Thomas M. Horan,
    in the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th
                 Floor, Courtroom #5. All parties are expected to attend via Zoom.
                       All participants must register at the Zoom link below.
     https://debuscourts.zoomgov.com/meeting/register/vJItdO2hpzotHt4u1EfrSUXdR7PP2SYcv4g

      STATUS CONFERENCE

      1. The Debtors will advise the Court on case status and pending matters.

      ADJOURNED MATTERS:

      2. Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II) Scheduling
         Confirmation Hearing; (III) Approving Form and Manner of Notice of Confirmation
         Hearing; (IV) Establishing Procedures for Solicitation and Tabulation of Votes to Accept
         or Reject Plan, Including (A) Approving Form and Content of Solicitation Materials; (B)
         Establishing Record Date and Approving Procedures for Distribution of Solicitation
         Materials; (C) Approving Forms of Ballots; (D) Establishing Voting Deadline for Receipt
         of Ballots and (E) Approving Procedures for Vote Tabulations; (V) Approving Form and
         Manner of Notice of Plan Releases; (VI) Establishing Deadline and Procedures for Filing
         Objections to Confirmation of Plan; and (VII) Granting Related Relief [Filed October 13,
         2023] (Docket No. 525).

          Response Deadline: November 14, 2023 at 5:00 p.m. (ET). The response deadline has
          been extended to December 8, 2023. Replies are due by 12:00 p.m. (ET) on December 11,
          2023.


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.

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        Responses Received:

                 a.          Objection and Reservation of Rights of Lexon Insurance Company to the
                             Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II)
                             Scheduling Confirmation Hearing; (III) Approving Form and Manner of
                             Notice of Confirmation Hearing; (IV) Establishing Procedures for
                             Solicitation and Tabulation of Votes to Accept or Reject Plan, Including
                             (A) Approving Form and Content of Solicitation Materials; (B)
                             Establishing Record Date and Approving Procedures for Distribution of
                             Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing
                             Voting Deadline for Receipt of Ballots and (E) Approving Procedures for
                             Vote Tabulations; (V) Approving Form and Manner of Notice of Plan
                             Releases; (VI) Establishing Deadline and Procedures for Filing Objections
                             to Confirmation of Plan; and (VII) Granting Related Relief [Filed
                             November 14, 2023] (Docket No. 728).

                 b.          Lavvan, Inc.’s Objection to Disclosure Statement [Filed November 14,
                             2023] (Docket No. 730).

                 c.          United States Trustee’s Objection to Motion for an Order (I) Approving
                             the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III)
                             Approving Form and Manner of Notice of Confirmation Hearing; (IV)
                             Establishing Procedures for Solicitation and Tabulation of Votes to Accept
                             or Reject Plan, Including (A) Approving Form and Content of Solicitation
                             Materials; (B) Establishing Record Date and Approving Procedures for
                             Distribution of Solicitation Materials; (C) Approving Forms of Ballots; (D)
                             Establishing Voting Deadline for Receipt of Ballots and (E) Approving
                             Procedures for Vote Tabulations; (V) Approving Form and Manner of
                             Notice of Plan Releases; (VI) Establishing Deadline and Procedures for
                             Filing Objections to Confirmation of Plan; and (VII) Granting Related
                             Relief [Filed November 16, 2023] (Docket No. 742).

        Related Documents:

                 a.          Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and its Affiliated
                             Debtors [Filed October 12, 2023] (Docket No. 523).

                 b.          Disclosure Statement with Respect to Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and its Affiliated Debtors [Filed October 12,
                             2023] (Docket No. 524).

                 c.          Affidavit of Service [Filed October 26, 2023] (Docket No. 624).

                 d.          First Supplemental Notice of Potential Assumption, Assumption and
                             Assignment, or Transfer of Executory Contracts and Unexpired Leases
                             [Filed December 1, 2023] (Docket No. 807).

                 e.          Notice of Filing Revised Order (I) Approving the Disclosure Statement; (II)
                             Scheduling Confirmation Hearing; (III) Approving Form and Manner of
                             Notice of Confirmation Hearing; (IV) Establishing Procedures for
                             Solicitation and Tabulation of Votes to Accept or Reject Plan, Including (A)
                             Approving Form and Content of Solicitation Materials; (B) Establishing
                             Record Date and Approving Procedures for Distribution of Solicitation
                             Materials; (C) Approving Forms of Ballots; (D) Establishing Voting

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                             Deadline for Receipt of Ballots and (E) Approving Procedures for Vote
                             Tabulations; (V) Approving Form and Manner of Notice of Plan Releases;
                             (VI) Establishing Deadline and Procedures for Filing Objections to
                             Confirmation of Plan; and (VII) Granting Related Relief [Filed December
                             1, 2023] (Docket No. 808).

                 f.          Notice of Service Notice of Filing of Clean and Blackline Versions of: (A)
                             First Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and
                             Its Affiliated Debtors; and (B) First Amended Disclosure Statement With
                             Respect to Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors [Filed December 1, 2023] (Docket No. 809).

        Status: This matter is continued to December 12, 2023 at 11:00 a.m. (ET).

    3. Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant to
       11 U.S.C. § 1104(c) [Filed November 11, 2023] (Docket No. 651).
        Response Deadline: November 10, 2023 at 4:00 p.m. (ET). The response deadline has
        been extended to December 6, 2023.

        Responses Received: None.

        Related Documents:

                 a.          Amended Notice of Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. § 1104(c) [Filed
                             November 1, 2023] (Docket No. 657).

        Status: This matter is continued to December 12, 2023 at 11:00 a.m. (ET).

    4. Debtors’ Motion for Entry of an Order Establishing Confirmation Discovery Schedule and
       Protocols [Filed November 6, 2023] (Docket No. 688).

        Response Deadline: November 14, 2023 at 4:00 p.m. (ET). The response deadline has
        been extended to December 8, 2023. Replies are due by 12:00 p.m. (ET) on December 11,
        2023.

        Responses Received:
                 a.          Lavvan, Inc.’s Objection to Debtors’ Motion to Establish Discovery
                             Schedule and Protocols [Filed November 14, 2023] (Docket No. 731).

        Related Documents:

                 a.          Affidavit of Service [Filed November 10, 2023] (Docket No. 719).

        Status: This matter is continued to December 12, 2023 at 11:00 a.m. (ET).




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 Dated: December 5, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ James E. O’Neill
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